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        The first “dumbphone” I ordered was the Light Phone. I had already made some
progress in reducing my media consumption and phone use through self-control and discipline,
but with such ease of access it was always a back and forth struggle. I did some research and
found a phone called the light phone. It is marketed as a solution for people with a cell
phone/internet/media addiction, or simply for people who want to do what they call a “digital
detox”.




         My motivation for trying the phone was that I had been experimenting with different app
blocking software on my phone, but none of them were really that useful because I was just able
to disable the app whenever I wanted to get into a blocked program such as YouTube or my
internet browser. I was interested in changing some negative habits and thought patterns I had
identified in myself through introspection, journaling and conversations with friends and
mentors.
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        I was excited to start using this phone because I thought it would really help me with
what I felt was a compulsive phone habit. I knew that I was spending too much time on my
phone and that it was having a negative impact on my life. I was missing out on sleep,
neglecting responsibilities, and going through life with a general sense of anxiety and agitation. I
knew spending hours and hours on my phone wasn’t good for me, but I felt that having a phone
was so essential for everyday life that I couldn’t get rid of my phone completely.
        The light phone seemed like a good compromise, but ultimately the phone is made by a
start-up company and it really wasn’t functional. It was too small for my hands and I could barely
see the text. The keyboard I also found to be very glitchy.




       However I was undeterred. I knew I still had to do something and find a solution. I
continued to research alternatives to a smartphone, and I also researched media addiction,
compulsive scrolling and how compulsive media usage has an effect on the brain.
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         One of the things I learned was that there are specific neural circuits in the brain involved
in how we anticipate good and bad news. While this area of research is still in the early stages,
researchers are beginning to identify correlations between certain personality types and certain
brain structures which can predict whether people faced with bad news prefer to “bury their
head in sand”, ignoring the problem hoping it will go away, while other types of people have a
tendency to analyze bad news over and over again, to see if somehow understanding the
problem will help them find a solution. I learned that I am more like this second type of person,
and this makes me more vulnerable to what researchers call “doom-scrolling”, which is basically
when someone uses a computer or a cell-phone to compulsively look through negative news as
a coping mechanism to deal with anxiety, usually caused by the computer or cell phone in the
first place.


       The next dumbphone that I ordered was the Sunbeam Wireless Orchid.




       I chose this phone because I wanted something that would work for my daily life, but
also had a GPS, but no other access to the internet.
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         I used this phone off and on as work would allow. Sometimes I did have to have a
calendar or email. But this phone was a nice break, and it was functional enough that I could
actually use it. I consider this phone a very positive step in the right direction. The GPS didn’t
work that well, and texting on the flip phone keyboard was a bit of a burden, but I still enjoyed
the peace using this phone gave me. The time I used this phone gave me enough breathing
room to establish new habits and positive habits, so that even when I am using a smartphone, I
am more conscientious about what sort of content I am taking in.
         One of the more positive habits I established was strengthening my relationships with my
close friends, and also joining an online men’s group that met regularly over zoom to discuss
our struggles and support one another. I began to pick up the phone several times a week to
talk about what was on my mind with a close friend who knew me and my situation. Instead of
ignoring the stress and anxiety of everyday life and attempting to numb it through alcohol or
digital distractions, I shared what was bothering me and relied on my friends for support, and
offered my support in return. I learned that there is such a difference that context makes. It is
very easy to frame a situation as black and white when you don’t know the parties involved. For
me I think I had a very rigid way of looking at situations and people. When I am isolated in my
own mind I know it is easy for me to assume things and come to conclusions that aren’t
necessarily true. On the other hand, when I have dialogue with friends and listen to their input,
they can highlight to me when my thinking could be out of line or unfair.
         2022 was definitely a year of deepening relationships in my life and I found that when I
felt this sense of closeness, connection and support my anxiety decreased dramatically.
Negative content became less appealing, and I became oriented more toward positive and
constructive things. I learned that, yes, bad things do happen in this life, but that life can’t come
to a standstill until everything gets resolved the way I think it should be resolved. Instead, I have
to accept that there are a lot of things outside of my control and that a lot of these things which I
don’t may never change. I can choose to focus on these negative things and become consumed
by this anger, or I can focus on the good things I have and channel my desire for change into
things I can control, by helping people in my immediate surroundings and appreciating all the
good things life has to offer, such as my faith, and faith community my friends, family, nature and
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these sorts of things. I am a much happier and more stable person since implementing these
changes.




         On January 28, 2023 I ordered the Wisephone after much research to find a dumb
phone that would also have some of the useful functionality of a smartphone without the
distractions. The Orchid that I had previously ordered worked nicely as a cell phone, but for my
daily life I needed a better GPS and the ability to send text messages on a QWERTY keyboard.
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       This phone was much like the other two up above, but was just a bit more user friendly. It
was the one I settled on, and used off and on regularly as my schedule would allow.

       I hope this information is useful to demonstrate that I did do a lot of self-reflection and
soul searching in the time that followed January 6th. I did identify certain weaknesses within
myself and took real, concrete and actionable steps to improve myself and grow as a person.

       Thank you for taking the time to read this.

       Devin McNulty
